898 F.2d 147Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Abdul-Shaheed TALIB, Plaintiff-Appellant,v.Doctor THOMPSON;  Nurse Mills, Defendants-Appellees.
    No. 89-7779.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Dec. 29, 1989.Decided:  March 2, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  David G. Lowe, United States Magistrate.  (C/A No. 89-195-R)
      Abdul-Shaheed Talib, appellant pro se.
      Edward Meade Macon, McGuire, Woods, Battle &amp; Boothe, for appellees.
      E.D.Va.
      AFFIRMED.
      Before DONALD RUSSELL, PHILLIPS and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Abdul-Shaheed Talib appeals from the magistrate's order denying relief under 42 U.S.C Sec. 1983.  Our review of the record and the magistrate's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Talib v. Thompson, C/A No. 89-195-R (E.D.Va. Sept. 7, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    